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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

   UNITED STATES OF AMERICA
                                                     :            Mag. No. 2574 (DEA)

                                                                  SEALING ORDER
  JOSEPH A. GIORGIANNI,
    aIk’a ‘Jojo,”
  MARY MANFREDO.
 ANTHONY DIMATTEO,
 RALPH DIMATTEO, SR.,
 GIUSEPPE SCORDATO,
   a/kia ‘Joe’
   a!k!a ‘Joev,”
 CAROL KOUNITZ,
 STEPHANIE LIMA,
 MARK BETHEA, and
 EUGENE BROWN,
  a/kla “Raheem”


                 This matter having come before the
                                                             Court upon the application of the Uni
                                                                                                       ted
 States of America, by Paul J. Fishman
                                       ,     United States Attorney (Eric W. Mo
                                                                                        ran, Assistant United
 States Attorney, appearing) for an ord
                                        er    sealing the Complaint and related pap
                                                                                           ers in this matter,
and for good cause shown,

                IT IS on this 4
                              th
                                 day of September,       2012,
                ORDERED that the Complaint in this
                                                                 matter and all related papers, with the
exception of the arrest warrant and
                                    cop    ies thereof, be filed under seal, and
                                                                                      they are hereby sealed
until the arrest of the individual nam
                                         ed in the warrant or until further ord
                                                                               er of this Court.

                                                             A
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                                                 HON. DOUGLASE. ARPERT
                                                 UNITED STATES MAGISTRATE
                                                                          JUDGE
